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                            EXHIBIT 6

                                to

             PAUL D. BRACHMAN DECLARATION
            IN SUPPORT OF DEFENDANT'S TRIAL
                          BRIEF
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Da Vinci




           Da Vinci Instruments
           Robotic instruments designed to enable precision beyond the limits of the
                                        human hand
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Da Vinci




           Trusted dexterity
           Choose Intuitive’s multi-functional da Vinci instruments with EndoWrist technology when
           you want fully wristed dexterity with a minimally invasive approach. Inspired by the human
           hand—but with a greater range of motion—our graspers, needle drivers, clip appliers, and
           energy instruments help enable surgical precision. With a variety of modalities, our
           instruments can be used for a range of procedures. Your da Vinci system seamlessly adjusts
           hand-to-instrument ratios, and tremor reduction further enhances fingertip control.




           Instrument portfolio details

           I&A product catalog                                   Product user manuals

           See our catalog of instruments and                    Download guides, instructions and
           accessories with how to order.                        documentation for your da Vinci
                                                                 surgical systems and instruments.


              Explore the catalog
                                                                    Find your manuals




           Discover our portfolio of precise, multi-
           functional surgical instruments for da Vinci
           X and da Vinci Xi systems

           Clip Appliers                                         Bipolar Instruments

           Choose among multiple clip sizes from                 Control at the surgeon console for
           TeleFlex Hem-o-lok and Horizon clips.                 multi-functional dissection, grasping,
                                                                 retracting, and coagulation.




           Monopolar Instruments                                 Suction and Irrigation

           Control at the surgeon console for                    A wristed suction irrigator that is
           multi-functional dissection, coagulation              controlled at the surgeon console.
           and cutting.




           Needle Drivers

           A portfolio of needle drivers with wristed
           articulation enables suturing at multiple
           angles.
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Da Vinci


           Statement on usage limits and use of
           remanufactured EndoWrist instruments
           “Patients first” has always been core to our mission. Patient safety, product efficacy, and
           delivering improvements in clinical outcomes guide the design, testing and manufacture of
           our surgical systems, instruments and accessories.

           With these objectives in mind, we have designed and rigorously tested and validated our
           EndoWrist instruments with usage and reprocessing limits intended to provide consistent
           product performance from the first use to the last.

           We are aware that certain third parties have sought to offer products or services to
           healthcare providers that would modify some of our instruments to extend their use. It is
           our understanding that such modifications constitute remanufacturing under FDA
           regulations and require 510(k) clearance from FDA.

           We recognize the role that third-party medical device servicers have come to play in the
           medical device ecosystem, and we support healthy, lawful competition in the marketplace.
           We also have a responsibility to protect patient safety and provide customers with proven,
           safe and effective tools and technologies. The remanufacturing of EndoWrists is performed
           by third parties that are not affiliated with Intuitive, and we are not privy to their testing
           protocols, verifications and validations, remanufacturing processes, or quality controls,
           among other things. Therefore, Intuitive will not bear responsibility for instruments that are
           remanufactured by a third party, or for harms or damages caused by the use of such
           instruments.

           However, Intuitive will not void its service contract with, cease doing business with, or
           consider it a breach of contract by a customer in the United States who chooses to
           purchase remanufactured instruments that have been remanufactured by a third party
           pursuant to and in compliance with a 510(k) clearance or equivalent granted by the FDA.

           As of March 1, 2023, Intuitive is not aware that FDA has granted 510(k) or equivalent
           clearance to any party to remanufacture any instruments for use with 4th generation da
           Vinci technology, including the da Vinci X, Xi and SP systems. Outside of the US, Intuitive is
           also not aware that any regulatory bodies have granted clearance to any party to
           remanufacture any instruments for da Vinci systems. For more information about 510(k)
           clearances granted by FDA, please refer to FDA’s publicly available searchable database.




           Integrated da Vinci products
           Explore our da Vinci portfolio that includes systems with advanced instruments and
           technologies that bring vision, energy and innovation to your OR.
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Da Vinci




                                   SYST E M S                           S O F T WA R E




                                  STA P L I N G                          E N E RGY




                                    VISION




           Help with instruments when you need it
           Running a successful robotics program requires more than technical support. Our experts
           answer questions 24x7—even during surgery. And we can visit you to help with sterile
           reprocessing training and techniques that maximize instrument life.
                                 Contact us Case 3:21-cv-03496-AMO         Document 280-7   Filed 10/28/24    Page 6 of 7



Da Vinci



                      Disclosures and important safety information




           Important safety information

           Serious complications may occur in any surgery, including surgery with a da Vinci system, up to and including death. Examples of
           serious or life-threatening complications, which may require prolonged and/or unexpected hospitalization and/or reoperation, include
           but are not limited to, one or more of the following: injury to tissues/organs, bleeding, infection, and internal scarring that can cause
           long-lasting dysfunction/pain.

           Risks specific to minimally invasive surgery, including surgery with a da Vinci system, include but are not limited to, one or more of the
           following: temporary pain/nerve injury associated with positioning; a longer operative time, the need to convert to an open approach,
           or the need for additional or larger incision sites. Converting the procedure could result in a longer operative time, a longer time under
           anesthesia, and could lead to increased complications.

           Contraindications applicable to the use of conventional endoscopic instruments also apply to the use of all da Vinci instruments.

           For important safety information, including surgical risks and considerations, please also refer to www.intuitive.com/safety. For a
           product’s intended use and/or indications for use, risks, full cautions, and warnings, please refer to the associated user manual(s).

           Individual outcomes may depend on a number of factors—including but not limited to—patient characteristics, disease characteristics,
           and/or surgeon experience.

           Da Vinci Xi system precaution statement

           The demonstration of safety and effectiveness for the representative specific procedures did not include evaluation of outcomes
           related to the treatment of cancer (overall survival, disease-free survival, local recurrence) or treatment of the patient’s underlying
           disease/condition. Device usage in all surgical procedures should be guided by the clinical judgment of an adequately trained surgeon.

           Da Vinci instruments and accessories

           It is the responsibility of the owner of the da Vinci surgical system to properly train and supervise its personnel to ensure that the
           instruments and accessories are properly cleaned, disinfected, and sterilized as required by the user’s manual. Da Vinci products
           should not be used in a clinical setting unless the institution has verified that these products are properly processed in accordance
           with the da Vinci system user manual.

           Da Vinci Single-Site for the Xi system (complete indication)

           The safety and effectiveness of the da Vinci Xi Single-Site system for use in the performance of general laparoscopic abdominal
           surgery or general gynecological surgery procedures have not been established. The da Vinci Single-Site instruments and accessories
           are only intended to be used for single incision laparoscopic cholecystectomy, benign hysterectomy, and salpingo-oophorectomy with
           the da Vinci Single-Site instruments and the da Vinci Xi surgical system (IS4000). There may be an increased risk of incision-site hernia
           with single-incision surgery. Patients who are not candidates for non-robotic minimally invasive surgery are also not candidates for
           robotic-assisted surgery with da Vinci systems, including surgery with da Vinci systems with Single-Site instruments.




           Home         Da Vinci Surgical Systems   Da Vinci Instruments




           Products & Services


           Healthcare Professionals


           Patients
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Da Vinci
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